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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 RAYMOND JAMES & ASSOCIATES, INC.,

       Plaintiff/Counter-Defendant,

 v.                                                CASE NO. 2:18-cv-02104-JTF-tmp

 50 NORTH FRONT ST. TN, LLC,

       Defendant/Counter-Plaintiff.


    UNOPPOSED MOTION AND MEMORANDUM OF PLAINTIFF/COUNTER-
           DEFENDANT, RAYMOND JAMES & ASSOCIATES, INC.,
 FOR AN EXTENSION OF TIME TO FILE ITS RESPONSES TO THE DEFENDANT’S
OBJECTIONS TO THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
     AND THE DEFENDANT’S MOTION TO DISMISS/MOTION TO STRIKE


        COMES NOW the Plaintiff/Counter-Defendant, Raymond James & Associates, Inc.

 (“Raymond James”),by and through its attorneys, and moves this Court for an extension of time

 to and including April 11, 2022, to file its responses to: a) Defendant’s Objections to the Report

 and Recommendation of the Magistrate Judge‘s Order Granting in Part Motions for Sanctions and

 Report and Recommendation, (ECF 397) (“Objection to Sanctions”); and b) Defendant’s Motion

 to Dismiss, or in the Alternative, Motion to Strike Allegations and Attached Exhibits from the

 Second Amended Complaint (ECF 396) (“Motion to Dismiss”).

         Defendant/Counter-Plaintiff, 50 North Front St. TN, LLC. (“50 North”) does not oppose

 this Motion.

        Rule 6(b) of the Federal Rules of Civil Procedure provides that the Court may extend the

 time to respond upon request by a party if the request is made before the original time for the

 response expires and for good cause.
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                                   PROCEDURAL CONTEXT

        On February 8, 2022, the Magistrate Judge filed a Report and Recommendation (ECF 392)

 that recommended that Raymond James’ Motion to Compel and for Discovery Sanctions (ECF

 189) be granted.

       On February 17, 2022, 50 North moved for additional time to file its responses to both the

 Magistrate’s Sanctions Recommendation and to the newly filed Second Amended Complaint.

 (ECF 394). As the Motion itself noted, Raymond did not oppose 50 North’s request for this 13 day

 extension.

        On March 7, 2022, 50 North filed its Objections to Sanctions (ECF 397) and, instead of

 answering the SAC, instead filed its Motion to Dismiss (ECF 396). The applicable deadlines for

 Raymond James to respond to these pleadings falls on March 21st and April 4th, respectively.

         Counsel for Raymond James will be in a FINRA arbitration starting the week of March

 21st that could go as long as April 1st. This, coupled with the time needed to respond to 50 North’s

 extensive pleadings, necessitates Raymond James’ request for additional time to file its responses.

 Counsel for Raymond James and 50 North have discussed this issue, and 50 North has no objection

 to the extension of these two deadlines up to and including April 11, 2022.



                                       Respectfully submitted,

                                       THE PROSSER LAW FIRM

                                        _/s/ Kyle Johnson___________
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                                       Counsel for Raymond James

                                       - and –

                                       BAKER,  DONELSON,          BEARMAN,      CALDWELL        &
                                       BERKOWITZ, PC


                                         /s/ John Branson

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                                       Attorneys for Raymond James




                             CERTIFICATE OF CONSULTATION

        Pursuant to Local Rule 7.2(a)(1)(B), Raymond James hereby certifies that it has consulted

 with 50 North’s Counsel, Michael McLaren, regarding the Motion for Extension of Time to file

 its response to the Defendant’s Objections to the Report and Recommendation of the Magistrate

 Judge and to respond to the Defendant’s Motion to Dismiss / Motion to Strike. 50 North does not

 oppose the relief requested in this Motion.



                                       _/s/ Kyle Johnson




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was served

 upon the below-listed counsel this 10th day of March, 2022, through the Court’s ECF System, which

 will automatically send an electronic copy of the filing to all counsel of record in this case.




                                                       _/s/ Kyle Johnson




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